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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       RUSSELL KNAGGS,                                   Case No. 15-mc-80281-MEJ
                                   8                    Plaintiff,                           ORDER RE: CONFIDENTIALITY
                                                                                             DESIGNATIONS
                                   9             v.
                                                                                             Re: Dkt. No. 42
                                  10       YAHOO! INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13            Although Petitioner Russell Knaggs concedes this matter should be closed, he requests the

                                  14   Court order the release of the unredacted Narayan Dash deposition transcript to Petitioner and his

                                  15   United Kingdom counsel working on his appeal. Feb. 1, 2018 Status Report at 3, Dkt. No. 42.

                                  16   Respondent Yahoo! Inc.1 opposes this request, arguing it would reveal information Yahoo

                                  17   designated as confidential to persons who are not subject to a protective order similar to the one

                                  18   entered in this litigation. Id. at 6-7; see Protective Order, Dkt. No. 29.

                                  19            At this point, releasing the transcript is premature. A hearing on Petitioner’s U.K. appeal

                                  20   took place in December 2017, and Petitioner is awaiting a decision. Pet. Suppl. Br. at 2, Dkt. No.

                                  21   44; id. at ECF pp. 7-8 (“Colorado Decl.”) ¶ 5. Petitioner represents he “is entitled to appeal an

                                  22   adverse decision to the Supreme Court of the United Kingdom.” Id. (both). Petitioner further

                                  23   states the Dash deposition transcript would contain information “relevant to any request for

                                  24   clarification or for further briefing that may be requested by the appellate court before rendering

                                  25   judgment.” Pet. Suppl. Br. at 3; Colorado Decl. ¶ 6.

                                  26            Either scenario is nothing more than a mere possibility. First, Petitioner does not represent

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                                           Now known as Oath Holdings.
                                           Case 3:15-mc-80281-MEJ Document 47 Filed 03/19/18 Page 2 of 2




                                   1   that he intends to appeal an adverse decision to the Supreme Court of the United Kingdom, only

                                   2   that he is entitled to an appeal. Even if there is an appeal or request for supplemental briefing,

                                   3   Petitioner does not know at this juncture whether he will need to “prove up the sufficient

                                   4   foundation of the expert report” which was at issue during the appeal and is the reason for

                                   5   Petitioner’s alleged need for the confidential information. Pet. Suppl. Br. at 3. Second, Petitioner

                                   6   does not explain why he believes the U.K. appellate court may request additional briefing; nor

                                   7   does he assert that that court would accept new evidence at that time. In short, Petitioner fails to

                                   8   show that further litigation is “within reasonable contemplation.” Intel Corp. v. Advanced Micro

                                   9   Devises, Inc., 542 U.S. 241, 259 (2004).

                                  10          In light of these uncertainties and given that Petitioner and his U.K. counsel are not bound

                                  11   by any protective order, the Court declines to release the Dash deposition transcript to Petitioner

                                  12   and his U.K. counsel at this time.2 Nothing in this Order prohibits Petitioner from raising this
Northern District of California
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                                  13   issue in a subsequent action if (1) the appellate court requests additional briefing, or Petitioner

                                  14   appeals to the Supreme Court of the United Kingdom; (2) Petitioner can demonstrate the

                                  15   confidential portions of the transcript are relevant to those proceedings; and (3) Petitioner and his

                                  16   U.K. counsel will agree to be bound by the terms of a protective order.

                                  17          The Clerk of Court shall close the file in this matter.

                                  18          IT IS SO ORDERED.

                                  19

                                  20   Dated: March 19, 2018

                                  21                                                     ______________________________________
                                                                                         MARIA-ELENA JAMES
                                  22                                                     United States Magistrate Judge
                                  23

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                                         Petitioner argues “[i]t beggars belief to imagine that the Court could order discovery in support
                                  25   of a foreign proceeding but not intend that the information produced would be made available to
                                       the Petitioner in that proceeding nor to his attorneys assisting him in that proceeding.” Pet. Suppl.
                                  26   Br. at 5. To the extent Petitioner believed the redacted portions of the Dash transcript would aid
                                       him during his appeal, he did not move the Court to release them prior to the December 2017
                                  27   hearing. See Docket. It was only after the Court ordered the parties to file a joint status report that
                                       Petitioner raised the issue – more than one month after the hearing took place. See Jan. 18, 2018
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                                       Status Order, Dkt. No. 40; Joint Status Report.
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